
703 S.E.2d 736 (2010)
STATE
v.
Timothy Raynard BIVENS.
No. 414P10.
Supreme Court of North Carolina.
November 4, 2010.
M. Elizabeth Guzman, Assistant Attorney General, for State of North Carolina.
Timothy Raynard Bivens, pro se.
Prior report: ___ N.C.App. ___, 693 S.E.2d 378.
The following order has been entered on the motion filed on the 21st of September 2010 by Defendant for Petition for Writ of Certiorari and/or Any Other Relief Under the Provisions of the All Writs Act:
"Motion Denied by order of the Court in conference this the 4th of November 2010."
